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                      Exhibit C

               Floyd, Pflueger & Ringer, P.S.
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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


    In re:                                                    Chapter 11

    BOY SCOUTS OF AMERICA AND                                 Case No. 20-10343 (LSS)
    DELAWARE BSA, LLC, 1
                                                              (Jointly Administered)
                            Debtors.


       DECLARATION OF THOMAS B. NEDDERMAN ON BEHALF OF ORDINARY
            COURSE PROFESSIONAL FLOYD, PFLUEGER & RINGER, PS

             I, Thomas B. Nedderman, hereby declare under penalty of perjury as follows:

             1.     I am a Partner of Floyd, Pflueger & Ringer, P.S., located at 200 W. Thomas Street,

Suite 500, Seattle, WA, 98119 (the “Firm”).

             2.     This declaration (this “Declaration”) is submitted in accordance with that certain

Order Authorizing the Debtors to Employ and Compensate Professionals Used in the Ordinary

Course of Business, Nunc Pro Tunc to the Petition Date [Docket No. 354] (the “OCP Order”). All

capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such

terms in the OCP Order.

             3.     The debtors and debtors in possession in the above-captioned chapter 11 cases

(together, the “Debtors”) have requested that the Firm provide services to the Debtors, and the

Firm has consented to provide such services (the “Services”).

             4.     The Services include, without limitation, the following: Defense of lawsuits filed

against BSA and Local Councils by former Scouts, A.N., M.F., D.B. and R.B., concerning

allegations of sexual abuse.


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 The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The Debtors’ mailing
address is 1325 West Walnut Hill Lane, Irving, Texas 75038.


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       5.      The Firm may in the past have performed, may currently perform, and may in the

future perform services in matters unrelated to the Debtors’ chapter 11 cases for persons that are

parties in interest in the Debtors’ chapter 11 cases. As part of its customary practices, the Firm is

employed in cases, proceedings, and transactions involving many different parties, some of whom

may represent or be parties in interest in these chapter 11 cases. The Firm does not perform

services for any such party in interest in connection with the chapter 11 cases. In addition, the

Firm does not represent or hold any interest adverse to the Debtors or their estates with respect to

the matters on which the Firm is to be employed.

       6.      Neither I, nor any principal of, nor any professional employed by the Firm has

agreed to share, or will share, any portion of the compensation to be received from the Debtors

with any other person other than the principal and regular employees of the Firm.

       7.      As of the commencement of these chapter 11 cases on February 18, 2020 (the

“Petition Date”), the Debtors owed the Firm $2,500.00 in respect of services provided to the

Debtors.

       8.      As of the Petition Date, the Firm did not hold a retainer from the Debtors.

       9.      The Firm estimates that its average monthly compensation during these chapter 11

cases will be approximately $15,000.

       10.     The Firm has reviewed the OCP Order and understands the limitations on

compensation and reimbursement of expenses thereunder. Specifically, the Firm understands that

in the event that it exceeds the applicable OCP Cap, the Firm will be required to file with the Court

an application for allowance and payment of any fees and/or expenses that exceed such OCP Cap

in accordance with sections 330 and 331 of the Bankruptcy Code, applicable Bankruptcy Rules

and the Local Rules, and any applicable orders or procedures of the Court.




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       11.     The Firm is conducting further inquiries regarding its retention by any creditors of

the Debtors and if, upon the conclusion of such inquiry, or at any time during the period of its

retention, the Firm should discover any facts bearing on the matters described herein, the Firm will

supplement the information contained in this Declaration.

       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury under the laws of the

United States of America that the foregoing is true and correct.



Dated: April 30, 2020
       Seattle, WA

                                                Thomas B. Nedderman – WSBA #28944




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